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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff, Case No. 1:20-cv-1580-RCL

Vv.

JOHN R. BOLTON,

 

 

Defendant.
[PROPOSED] ORDER
“em GJ vem
Upon consideration of the Motionet PEN American Center, Inc. For Leave To File Brief

As Amicus Curiae In Support Of Defendant (the “Motion”), it is hereby
ORDERED that the Motion is granted, and further
ORDERED that the proposed Brief Of PEN American Center, Inc. As Amicus Curiae In

Support Of Defendant is deemed filed in the above-captioned action.

Dated: on /G_, 2020 Coc Fonlt&
US. District Judge

 
